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                                 M A N D A T E

TO THE 206TH DISTRICT COURT of HIDALGO COUNTY, GREETINGS:

Before our Court of Appeals for the Thirteenth District of Texas, on the 11th day of
September, 2014, the cause upon appeal to revise or reverse your judgment between

ARNOLD PEÑA, GUARDIAN OF
JUAN CARLOS PEÑA,                                                            Appellant,
                                           v.
STATE OFFICE OF RISK
MANAGEMENT,                                                                   Appellee.
CAUSE NO. 13-12-00712-CV                                         (Tr.Ct.No. C-893-11-D)

was determined; and therein our said Court made its order in these words:

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the judgment of the trial court should be REVERSED and the cause

REMANDED to the trial court.       The Court orders the judgment of the trial court

REVERSED and REMANDED for further proceedings consistent with its opinion. Costs

of the appeal are adjudged against appellee.

      We further order this decision certified below for observance.

                                      

WHEREFORE, WE COMMAND YOU to observe the order of our said Court of Appeals
for the Thirteenth District of Texas, in this behalf, and in all things have it duly
recognized, obeyed and executed.

WITNESS, the Hon. Rogelio Valdez, Chief Justice of our Court of Appeals, with the seal
thereof affixed, at the City of Edinburg, Texas this 18th day of August, 2015.




                                                Cecile Foy Gsanger, CLERK
